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               Exhibit B
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                                                                                                                   Loss Chart
                                                                                       Losses of William Melchione in Synchronoss Technologies, Inc. (SNCR)
Client Name                William Melchione
Company Name          Synchronoss Technologies, Inc.               90 Day Lookback Average                  $13.7536                                     Loss                   $     (432,072.78)
Ticker Symbol                    SNCR
Class Period Start            10/28/2015
Class Period End               4/27/2017

                                                                                                                                                                                Securities Held at
                         Quantity of Securities        Price Per                                                         Number of          Price Per     Total Proceeds from                        Per Security                            Total
   Acquisition Date                                                       Total Cost             Disposition Date                                                                 Close of Class                    Retained Value
                             Purchased                 Security                                                        Securities Sold      Security              Sale                                  Value                            Proceeds/Loss
                                                                                                                                                                                     Period
      12/22/2016                5,000.00               $40.1920          $200,959.99                                                                                                5,000.00          $13.7536        $68,768.18     $      (132,191.81)
      12/22/2016                 500.00                $39.2199           $19,609.95                                                                                                 500.00           $13.7536        $6,876.82      $       (12,733.13)
      12/22/2016                 100.00                $39.2150           $3,921.50                                                                                                  100.00           $13.7536        $1,375.36      $        (2,546.14)
      12/22/2016                 400.00                $39.2100           $15,684.00                                                                                                 400.00           $13.7536        $5,501.45      $       (10,182.55)
       1/5/2017                 1,500.00               $39.0631           $58,594.59                                                                                                1,500.00          $13.7536        $20,630.45     $       (37,964.14)
       1/12/2017                 900.00                $38.2711           $34,443.99                                                                                                 900.00           $13.7536        $12,378.27     $       (22,065.72)
       1/12/2017                 100.00                $38.2500           $3,825.00                                                                                                  100.00           $13.7536        $1,375.36      $        (2,449.64)
       1/17/2017                1,500.00               $38.2267           $57,339.99                                                                                                1,500.00          $13.7536        $20,630.45     $       (36,709.54)
       2/6/2017                  500.00                $37.7700           $18,884.99                                                                                                 500.00           $13.7536        $6,876.82      $       (12,008.17)
       2/6/2017                 1,700.00               $37.7499           $64,174.83                                                                                                1,700.00          $13.7536        $23,381.18     $       (40,793.65)
       2/6/2017                  300.00                $37.7350           $11,320.50                                                                                                 300.00           $13.7536        $4,126.09      $        (7,194.41)
       2/7/2017                  770.00                $37.2430           $28,677.09                                                                                                 770.00           $13.7536        $10,590.30     $       (18,086.79)
       2/7/2017                 1,230.00               $37.2800           $45,854.40                                                                                                1,230.00          $13.7536        $16,916.97     $       (28,937.43)
       2/8/2017                  500.00                $35.7000           $17,849.99                                                                                                 500.00           $13.7536        $6,876.82      $       (10,973.17)
       2/9/2017                 1,000.00               $31.0175           $31,017.49                                                                                                1,000.00          $13.7536        $13,753.64     $       (17,263.85)
       2/27/2017                1,000.00               $28.9850           $28,984.99                                                                                                1,000.00          $13.7536        $13,753.64     $       (15,231.35)
       3/3/2017                 1,000.00               $26.6200           $26,619.99                                                                                                1,000.00          $13.7536        $13,753.64     $       (12,866.35)
       3/14/2017                1,000.00               25.62859           $25,628.59                                                                                                1,000.00          $13.7536        $13,753.64     $       (11,874.95)




                              19,000.00                                  $693,391.87                                                                                               19,000.00                         $261,319.09     $      (432,072.78)
       TOTALS              Shares Purchased                                 Cost                                         Shares Sold                      Proceeds from Sales   Retained Shares                     Retained Value           Loss
